                                    THE CllA.NCERY COURT
                                 DAVIDSON CODNTY,TENNESSEE

                        HONORABLE ELLEN HOBBSLYLE, CHANCELLOU
                                                                                                  FILED
                                                                                                  AUG2 2 2018
                             MARIAM.SALAS, CLERK ANn MASTER
                                                                                           Cl.erK lit the Appellate Qqur\s
                                 AJ3U-ALl-ABD~'~ff1VlAN,ET AL                              Rec'p l}Y
                                             Plaintiffa/A[Jpellartts


           cERTlFJED                                                              t:l1   APPEAI;.ED
                                                                                  g
          TRANSCRIPT                 . .·                v~        . ·.   r.n     s·         TO
                                       •·            .         .
                                                              ·.      ~
                                                           . . . .·. i:l:lZ
                                                                                  "
              ··op                    . No.
                                         . . M20f8-01385-SC-RDO-CV.
                                               . .. ...  .   .   .  . ;::·
                                                                      t;;. q             Nc~t ·refin,
                                             SUPREME COURT                t"'i.
              Ca rise                                                     !'l
                                                                          0
                                            '.I'RANSMITTED ON:            ·~
                                               August2j. 2018

          . I'ONY.PAJU(ER,IN t(ls OFFlCIA.~ ¢APA¢ttY A.S,TENNESSEE ¢()M~USslO'NERQF.
                                        CORRECTION, ET AL
                                          Defend11nts/Appt>llees

                                       Tripi Exbibitfl06-1l6


J(!)Hey). Jforu:y: #2ltl3
;\_ssi.sjan~.F ~(iera).Pu blic •Defender
~ 1() ]J~n.adwiiy;Suitc 2()0 ·
Niis~vil}e TN.37202
(6 IS) 736cS047
                                 .                                         .
 .· .·..· . · ;ittorneyjdr PJ(lilltiffs!Appellant~: A .~.u,A(i-A~dur'ftaliltla#, .!pith •Mie~'ael B.tui.e,
Byron.Bl11i:k;A~1dte.J!ltjnd, Kevin . !Jurns1.•. Tony Carruthers,•· Tyrone Chi!llJlers~ .fames
Deflifigef, ])(1vidD~nCaff• Kennath Henderson, Antlw11y Da/relllffnes1 fl<mry Hoag!!s;
$teph11nl1iu:~eley, A kilJ.alti, ·])avidfvy,]>a,nnie. J.olwson~. ~avid Jor(/fl:n, ])~rid Keen., Donald
M.iildfefl1·ooks, Faqis Morris, Pervis. l'aylle, Ger.~ldPowers., William .Glenn Rogers,· Miclt.ael
Sample,· Qsc(1r Smith; Chat/es Wattml Wright and13dmund 4agorski




~·\\
          Case 3:18-cv-01234 Document 1-10 Filed 11/02/18 Page 1 of 2 PageID #: 542
                                                                                                Attachment 9
          The places that it Is readily available from do they have disclaimer requirements like
          what -                hit us with on the Penta?




        CONFiDENllAUTY: Tho informaflul'I wilmtffid In this 9-malimemgtl, lnclu~ aiy attechmoort, ~ ln1e~ded en:~ fo1 lhe ~rial. ronfidftllliPl ~
        pt~ (elfler k!:gslly e1r ~M'i&e} use or tile lndlvldu&l lo whidl I! 15 aCld'reti4ed. The ~I ~S$ag11 tind !l{UlciY11an!s may contain coof(derWsl
        lnfomr111llc>nthstls prote<:led by AIOMey/Clleinl prMlugeand e.xempl ffom dlsdcsure umkr applcfilla taw. tr lh~ reader of this IMSsai.JEt ~not Ille ln16nded
        reclplerit. you .are nolllied 1hal soy tvvlsw, ust, d/sd0$Ut$, diWlblltloo Of~i>pflng Of Utls communii:91ion is i;hictJ~ prohftlileO If ~LI lldve 1ece'"«ld 11'11~
        eommLllllealiM In error, pleat conlaal lhe s&ntSer by reply o.flili lrrrned';st.,Jy e'fld deilrOV a~~&$ or llle o"'.'Ofnal ir~.


       From:
       S eThursda
             n - : September 07, 2017 12:58 PM
       To:
       Subi e •                :    jjdtae


       '" This Is an EXTERNAL email. Please e>eercise caution. 00 NOT open
       attachments or click links from unknown senders or unexpected email. STS·
       Security. ""' 11                                    ···~:.:r.~~.,··:;


       Hello-

      That stuff Is readily available along with potassium chloride. I reviewed several
      protocols from states that currently use that method. Most have a 3 drug protocol
      lncludlng a paralytic and potassium chloride. Here is my concern with Mldazolam. Being
      a benzodlazeplne, It does not elicit strong analgesic effects. The subjects may be able to
     feel pain from the administration of the second and third drugs. Potassium chloride
     especially. It may not be a huge concern but can open the door to some scrutiny on
     your end. Consider the use of an alternative like Ketamlne or use in conjunction with an
     opioid. Availability of the paralytic iigent Is spotty. Pancuronlum, Rocuronium, and
     Vecuronium are currently unavailable. Succinylcholine is avaflable in limited quantity.
     I'm currently checking other sources. I'll let you know shortly.


     Regards,

     !<lmageOQ4.Jpg;/
     This document may contain fnfarmatlon covered under the Privacy Act, 5 USC SS2{ti}, artd/or Health tnsurance
     Portabllltv and Aec:o1.1nta'1llity Ad (Jl'll.04-191} and lts various lmplem~ntklg reeulatloM and must be p-rotetted In
     a(l;Ordante wtth those provfslons, ~ealthci!.-e Information f$ perso"at and seMltlve end must be treated att0tdln1ty. If
     this correspondence contains healthcare biformatloil k I$ being provided to you efter app~ate. aut:horltatton from
     the patient or -..nch1r clrwmstances that do not requ1111 p•tient authorliatlon. You, thtl recipient,, are: obllgated to
    maintain It In a sa~. secure, and confkfentJat manner. Redlsclosure without 11ddltkinal patient con:.ent or 8$ permitted
    by law Is prohibited. Uneuthorlted redlsciosur£ or flllure to maintain COflfldenflalitv s1.tbjects you to 111Jproprtate
    s21nctfon. If you have reeetved this rorresp<:1ndenc:e ln e:rror, please notify the sender at onc:e and deUroy any copie1
    you have made.

                                                                                                                     FILED
                                                                                      4
                                                                                                                                                                    EXHIBIT#      l 11/
                                                                                                                     AUG 2 2 2018
                                                                                                                                                                    FILEDA·T·E
                                                                                                                                                                    CASE#
                                                                                                                                                                                 ~1J?ft
                                                                                                                                                                             I IS":___ _,,..~
                                           Clerk of Page
                                                    the Appellate Courts
Case 3:18-cv-01234 Document 1-10 Filed 11/02/18            2 of 2   PageIDBY:#: 543
                                                                                                          Rec'd By                                                           :rw::s
                                                                                                                                                                         Attachmentj_~ 9i:!')8
                                                                                                                                                                                        v '~
